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                     COMMODITY FUTURES TRADING COMMISSION
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   Division of
  Enforcement

                                         April 28, 2022


BY ECF
Hon. John G. Koeltl
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street, Courtroom 14A
New York, NY 10007-1312

       Re:     CFTC v. John David McAfee and Jimmy Gale Watson,
               1:21-cv-1919 (JGK)

Dear Judge Koeltl:

        Plaintiff Commodity Futures Trading Commission (the “CFTC”) respectfully writes the
court to provide a status update.

        As to Defendant John David McAfee, Plaintiff understood that at the time of filing
McAfee was being detained in a Spanish prison in connection with extradition requests by the
U.S. Department of Justice. In response to the CFTC’s request of assistance pursuant to the
Convention on Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial
Matters (the “Hague Convention”), a local Spanish official personally served McAfee on June 1,
2021. (Dkt. No. 22.) McAfee’s answer (or other responsive motion) thus was due on June 22,
2021, pursuant to Fed. R. Civ. P. 12(a)(1)(A)(i). No answer or other response was filed or
served by that date. According to news reports, on the following day, June 23, 2021, a Spanish
court authorized McAfee’s extradition, and later that day he was found dead in his jail cell by
apparent suicide. Since the last status update, the CFTC has learned that Spanish officials
completed their investigation and confirmed that McAfee died by suicide. (A translated
certificate was filed recently by the Government as Exhibit A in US v. McAfee, 21-cr-138 (LGS)
(Dkt. #46-1).)

        As to Defendant Jimmy Gale Watson, on April 14, 2022, Your Honor granted Watson’s
unopposed motions to extend his date to answer until July 15, 2022, in both this case and also in
the related SEC case (20-cv-8281), in anticipation of potential settlement.
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       In light of the current status and Watson’s request for additional time, Plaintiff
respectfully requests the Court reschedule the status update to on or after July 29, 2022, which is
two weeks after the date that Watson’s response to the complaint is due.



                                              Respectfully submitted,


                                              __________________________
                                              David W. Oakland

cc:    Arnold Spencer, Esq. (counsel for Defendant Watson) (via ECF)
